          Case 3:11-cr-00097-CRB
           Case:                   Document
                  16-15421, 08/26/2016,       798 Filed
                                        ID: 10102415,   08/26/16
                                                      DktEntry:     Page11ofof11
                                                                6, Page
                                                                              FILED
                      UNITED STATES COURT OF APPEALS                          AUG 26 2016

                                                                           MOLLY C. DWYER, CLERK
                              FOR THE NINTH CIRCUIT                         U.S. COURT OF APPEALS




UNITED STATES OF AMERICA,                          No.   16-15421

                Plaintiff-Appellee,                D.C. Nos.   3:15-cv-01679-CRB
                                                               3:11-cr-00097-CRB-1
 v.                                                Northern District of California,
                                                   San Francisco
CUONG MACH BINH TIEU, AKA Ah
Keung, AKA Steve, AKA Hak Se Wui,
                                                   ORDER
                Defendant-Appellant.


Before:        CLIFTON and N.R. SMITH, Circuit Judges.

      The request for a certificate of appealability (Docket Entry No. 2) is denied

because appellant has not made a “substantial showing of the denial of a

constitutional right.” 28 U.S.C. § 2253(c)(2); see also Miller-El v. Cockrell, 537

U.S. 322, 327 (2003).

      Any pending motions are denied as moot.

      DENIED.
